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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN



Grayson−Bey,

                                    Plaintiff(s),
v.                                                      Case No. 2:19−cv−13588−NGE−DRG
                                                        Hon. Nancy G. Edmunds
Southfield Police Department, et
al.,

                                    Defendant(s),

                       NOTICE REGARDING PARTIES' RESPONSIBILITY
                         TO NOTIFY COURT OF ADDRESS CHANGE

   THIS NOTICE IS A REMINDER that you are required, pursuant to E.D. Mich. LR 11.2, to
promptly file a notice with the Clerk and serve a copy of the notice on all parties whenever your
address, e−mail address, phone number and/or other contact information changes. In addition,
Rule 11 of the Federal Rules of Civil Procedure requires you to include your address on every
document filed with the Clerk.

   Failure to promptly notify the court of a change in address or other contact information may
result in the dismissal of your case.

    Notices regarding changes to your address or other contact information should include the
following:

                                     • Your Name
                                     • Your New Address
                                     • Your New E−Mail Address and/or Telephone Number
                                     • Your Case Number
                                     • If you are a prisoner, your Inmate Number

     Send your notice to the Clerk at:


                                    United States District Court
                                    Clerk's Office
                                    231 Lafayette Boulevard
                                    Detroit, Michigan 48226


    Remember, your failure to promptly notify the court of a change in address or other contact
information may result in the dismissal of your case.



                                         Certificate of Service

   I hereby certify that on this date a copy of the foregoing notice was served upon the parties
and/or counsel of record by electronic means or first class U.S. mail.

                                                    DAVID J. WEAVER, CLERK OF COURT

                                                By: s/K Castaneda
                                                    Deputy Clerk
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Dated: December 13, 2019
